Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 1 of 6. PageID #: 1647
Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 2 of 6. PageID #: 1648
Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 3 of 6. PageID #: 1649
Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 4 of 6. PageID #: 1650
Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 5 of 6. PageID #: 1651
Case: 1:05-cr-00252-CAB Doc #: 209 Filed: 01/18/07 6 of 6. PageID #: 1652
